      Case 4:24-cv-03380              Document 1-3           Filed on 09/11/24 in TXSD   Page 1 of 8




                              IN THE UNITED STATES COURT FOR THE
                                  SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

HLEVICTOR HOSKINS,                                     §
    PLAINTIFF                                          §
                                                       §
V.                                                     § CIVIL ACTION NO. 4:24-CV-3380
                                                       §
NELNET, INC.,                                          §
    DEFENDANT                                          §

                                             EXHIBIT “B”
                                     INDEX OF STATE COURT’S FILE3

    B-1       Plaintiff’s Original Petition                                              08/12/2024

    B-2       Nelnet’s Original Answer                                                   08/29/2024




3
    Nelnet will request the remainder of the State Court file and will supplement.


HB: 4856-1169-6606.1
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Citation - Small Claims Money Damages .                                                      Tracking Number: K0407062

                                                 Case Number: 245100295998

Hlevictor A. Hoskins Jr                                                             In the Justice Court
Plaintiff                                                                           Harris County, Texas
VS.                                                                                 Precinct 5, Place 1
Nelnet INC                                                                          6000 Chimney Rock Road
Defendant                                                                           Suite 102
                                                                                    Houston, TX 77081
                                                                                    713-274-8700
                                                                                    www.ip.hcbcnet

                                                 Citation (Small Claims Case)
THE STATE OF TEXAS
COUNTY OF HARRIS

TO: ANY SHERIFF,CONSTABLE,PROCESS SERVER CERTIFIED UNDER ORDER OF THE SUPREME COURT,
OTHER PERSON AUTHORIZED BY COURT ORDER,OR CLERK:

neliver this citation, together with a copy of the petition, to:

Nelnet INC
By Serving: C T Corporation System
5601 South 59'St
Uncoln NE 68516


TO THE DEFENDANT:
You have been sued. You are commanded to appear by filing a written answer to the petition filed by Plaintiff with
the Clerk of the Court on or before the end of the 14th day after the date of service of this citation. In your answer,
please provide an email address If you consent to email service of any pleadings or other documents in your
case. If you fall to file an answer as required, a judgment by default may be rendered for the relief demanded in
the petition.

Date Petition Filed: 08/12r2024

Nature of demand made by Plaintiff(s): money owed in the amount ot $20,000.00. A copy of the petition is attached.

                                                       Notice
You have been sued. You may employ an attorney to help you in defending against this lawsuit. But you are not
required to employ an attorney. You or your attorney must file an answer with the court. Your answer is due by
the end of the 14th day after the day you were served with these papers. If the 14th day is a Saturday, Sunday, or
legal holiday, your answer Is due by the end of the fint day following the 14th day that is not a Saturday, Sunday,
or legal holiday. Do not ignore these papers. If you do not file an answer by the due date, a defaultjudgment may
be taken against you. For further information, consult the Texas Rules of Civil Procedure, Part V, Rules of
Practice in Justice Courts. A copy of the Rules is available at http://wv.rw.ip.hctx.netl or at the Justice Court.



Date: 8112/2024                                                 Is/ Sandra Saldana
                                                               Clerk of the Court
                                                               Harris County Justice Court
                                                               Precinct 5, Place 1


Address of Plaintiff

2425 Holly Hall St Apt K142
Houston TX 77054



                                                             Page 1 of 1 -                               Revised: 06/09/2016
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                                                                                                  HARRIS COUNTY, TEXAS
                                                                                                         8/29/2024 8:08 AM



                                            No. 245100295998

 HLEVICTOR HOSKINS, JR.,                                §                     IN THE JUSTICE COURT
 Plaintiff,                                             §
                                                        §
 v.                                                     §                        PRECINCT 5, PLACE 1
                                                        §
 NELNET, INC.,                                          §
 Defendant.                                             §                    HARRIS COUNTY, TEXAS


              DEFENDANT NELNET SERVICING, LLC’S ORIGINAL ANSWER

         Defendant, NELNET SERVICING, LLC (incorrectly identified as “Nelnet, Inc.”)

(“Nelnet”), files this, its Original Answer and in support thereof would show the Court as follows:

                                            I. GENERAL DENIAL

         Nelnet generally deny each and every, all and singular, the allegations contained in Plaintiff’s

Original Petition (“Petition”) pursuant to Rule 92 of the Texas Rules of Civil Procedure, and upon

final trial or hearing hereof will require strict proof in accordance with the laws of the State of Texas

and the United States Constitution.

                                       II. AFFIRMATIVE DEFENSES

The affirmative defenses below are stated in the alternative:

         1.        Plaintiff’s Petition fails to state a claim or cause of action, in whole or in part, upon

which relief may be granted.

         2.        Plaintiff’s tort claims sound in contract.

         3.        Plaintiff’s claims are barred by the economic loss doctrine.

         4.        Plaintiff’s claims are barred by the applicable statute of limitations.

         5.        Plaintiff’s claims are barred by waiver.

         6.        Plaintiff’s claims are barred by laches.




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                                                                                                        8/29/2024 8:08 AM



         7.        Nelnet alleges that the damages claimed by Plaintiff were proximately caused by

the acts or omissions of Plaintiff or a party or parties, whether joined in this suit or not, for whose

conduct Nelnet is not responsible, and therefore Nelnet pleads proportionate responsibility. Nelnet

specifically alleges the following:

              a. Plaintiff’s own fault contributed to or solely caused his damages, if any.

              b. Plaintiff’s damages, if any, were caused solely by one or more third parties for

                   whose conduct or misconduct Nelnet is not responsible.

              c. Plaintiff’s claims are barred by Plaintiff’s own comparative negligence and/or fault.

         8.        The acts or omission of a person or entity, whether or not a party to this suit, and

who was not at any material time subject to Nelnet’s actual or constructive control were a new,

independent, intervening or superseding cause of Plaintiff’s damages, if any.

                                                PRAYER

         WHEREFORE, NELNET SERVICING, LLC prays that Plaintiff take nothing by reason

of Plaintiff’s claims in this suit, and for any and all such other and further relief, at law or in equity,

to which NELNET SERVICING, LLC may show itself to be entitled.




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                                                  Respectfully submitted,

                                                  HUSCH BLACKWELL, LLP

                                                  By: /s/ Sabrina A. Neff
                                                  Sabrina A. Neff
                                                  TBN# 24065813
                                                  600 Travis St., Suite 2350
                                                  Houston, Texas 77002
                                                  (713) 647-6800 – Telephone
                                                  (713) 647-6884 – Facsimile
                                                  sabrina.neff@huschblackwell.com
                                                  ATTORNEYS FOR DEFENDANT
                                                  NELNET SERVICING, LLC


                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been served
upon the following on August 29, 2024:

Hlevictor Hoskins, Jr.              Certified Mail No. 9314 8699 0430 0125 3261 71
2425 Holly Hall, Apt. 15142
Houston, Texas 77054
Pro Se Plaintiff

                                               /s/Sabrina A. Neff
                                           Sabrina A. Neff




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                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Elizabeth Spivey on behalf of Sabrina Neff
Bar No. 24065813
Elizabeth.Spivey@huschblackwell.com
Envelope ID: 91451968
Filing Code Description: Answer Filed
Filing Description: Defendant Nelnet Servicing, LLC's Original Answer
Status as of 9/10/2024 9:30 AM CST

Associated Case Party: Nelnet INC

Name           BarNumber   Email                           TimestampSubmitted Status

Sabrina Neff               sabrina.neff@huschblackwell.com 8/29/2024 8:08:55 AM   SENT



Case Contacts

Name               BarNumber Email                                  TimestampSubmitted Status

Elizabeth Spivey              Elizabeth.Spivey@huschblackwell.com   8/29/2024 8:08:55 AM   SENT

Carmen Garcia                 carmen.garcia@huschblackwell.com      8/29/2024 8:08:55 AM   SENT
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                                     2425 Holly Hall, Apt. 15142
                                     Houston, TX 77054




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                                     Husch Blackwell LLP
                                     600 Travis Street
                                     Suite 2350                                                                        Hlevictor Hoskins, Jr.
                                     Houston, TX 77002                                                                 2425 Holly Hall, Apt. 15142
                                                                                                                       Houston, TX 77054

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                                     Husch Blackwell LLP
                                     600 Travis Street
                                     Suite 2350
                                     Houston, TX 77002




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